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16                               UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN FRANCISCO DIVISION

19

20   Michael Katz-Lacabe and Dr. Jennifer              Case No. 3-22-cv-04792-RS
     Golbeck, on behalf of themselves and all others
21   similarly situated,                               DEFENDANT ORACLE
                                                       AMERICA, INC.’S MOTION TO
22                     Plaintiffs,                     DISMISS PORTIONS OF PLAINTIFFS’
                                                       FIRST AMENDED COMPLAINT
23          v.
                                                       Judge: Hon. Richard Seeborg
24   ORACLE AMERICA, INC., a corporation
     organized under the laws of the State of          Date: October 5, 2023
25   Delaware,                                         Time: 1:30 p.m.
                                                       Courtroom: 3
26                     Defendant.
                                                       Date Action Filed: August 19, 2022
27                                                     FAC Filed: May 22, 2023
                                                       Trial Date: Not set
28
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 1                                  NOTICE OF MOTION AND MOTION

 2             TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:

 3             PLEASE TAKE NOTICE that on October 5, 2023, at 1:30 p.m., in Courtroom 3 located at
 4   450 Golden Gate Avenue, 17th Floor, San Francisco, California 94102, Defendant Oracle
 5   America, Inc. will and hereby does move this Court for an order dismissing the following causes
 6   of action in Plaintiffs’ First Amended Complaint on the grounds stated below, pursuant to Federal
 7   Rules of Civil Procedure 8 and 12(b)(6):1
 8             1.   Plaintiffs lack a basis to apply California law extraterritorially for the following
                    causes of action:
 9
                       a) Intrusion Upon Seclusion Under California Law (Second Cause of Action);
10                        and
11                     b) Unjust Enrichment Under California Law (Seventh Cause of Action).
12             2.   Plaintiffs fail to state a claim for relief for the following causes of action:
13                     a) Intrusion Upon Seclusion Under Florida Common Law (Third Cause of
                          Action);
14
                       b) Violation of the California Invasion of Privacy Act (“CIPA”), Cal. Penal Code
15                        §§ 630, et seq. (Fourth Cause of Action);
16                     c) Violation of the Florida Security of Communications Act (“FSCA”), Fla. Stat.
                          § 934.03 (Fifth Cause of Action);
17
                       d) Violation of the federal Wiretap Act, 18 U.S.C. §§ 2510, et. seq. (“ECPA”)
18                        (Sixth Cause of Action);
19                     e) Unjust Enrichment Under California Law (Seventh Cause of Action);
20                     f) Unjust Enrichment Under Florida Law (Eighth Cause of Action); and
21                     g) Declaratory Judgment (Ninth Cause of Action).
22   ///
23   ///
24   ///
25         1
          On April 6, 2023, the Court granted in part and denied in part Oracle’s motion to dismiss
26   Plaintiffs’ Complaint. (ECF No. 49 (“Ord.”).) The Court denied Oracle’s motion to dismiss as to
     Plaintiffs’ claims for California invasion of privacy (on behalf of the proposed California
27   subclass) and California intrusion upon seclusion (on behalf of the proposed California subclass).
     (See id. at 11-13.) Accordingly, Oracle does not move to dismiss those claims here, and will
28   respond separately to those claims 30 days after the Court’s rules on this motion, as stipulated.
     (ECF No. 60.)
     NOTICE OF MOTION AND MOTION TO DISMISS                1                         CASE NO. 3-22-cv-04792-RS
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 1          This motion is based upon this Notice; the accompanying Memorandum of Points and

 2   Authorities; the pleadings, files, and records in this action; and such additional evidence and

 3   arguments as may be presented at the hearing of this motion.

 4

 5   Dated: June 28, 2023                          MORRISON & FOERSTER LLP

 6
                                                  By:       /s/ Purvi G. Patel
 7                                                            Purvi G. Patel
                                                              Attorneys for Defendant
 8                                                            Oracle America, Inc.
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 1                        STATEMENT OF THE ISSUES TO BE DECIDED

 2   The motion raises the following issues:

 3          1. Extraterritorial Application of California Law. Whether Golbeck’s California
               intrusion upon seclusion and unjust enrichment claims should again be dismissed
 4             because Golbeck has failed to allege any legal basis to apply California claims to her,
               a resident of Florida, or members of the putative nationwide class.
 5
            2. Intrusion Upon Seclusion Under Florida Law. Whether Golbeck’s Florida
 6             intrusion upon seclusion claim should be dismissed because (a) she does not allege an
               invasion into a private quarter or place and (b) Oracle’s alleged conduct does not
 7             constitute a highly offensive intrusion.
 8          3. California Invasion of Privacy Act (CIPA). Whether Katz-Lacabe’s CIPA claim
               should be dismissed because he (a) again bases his claim on the collection of
 9             non-content record information contrary to the Court’s prior ruling and (b) has failed
               to allege “willful” interception.
10
            4. Florida Security of Communications Act (FSCA). Whether Golbeck’s FSCA claim
11             should be dismissed because (a) the FSCA does not apply to common web analytics
               tools, (b) Golbeck had no reasonable expectation of privacy in her browsing activity,
12
               and (c) the alleged data intercepted was non-content record information.
13          5. Federal Wiretap Act (ECPA). Whether Plaintiffs’ ECPA claim should again be
               dismissed because (a) ECPA is a one-party consent statute and Oracle’s customers
14
               have consented to Oracle’s alleged collection of the information at issue, and
15             (b) Plaintiffs have not alleged enough to satisfy ECPA’s “crime-tort” exception.
            6. Unjust Enrichment Under California Law. Whether Plaintiffs’ claim for unjust
16             enrichment under California law should again be dismissed because they have not
17             shown that Oracle’s alleged retention of a benefit was unjust.
            7. Unjust Enrichment Under Florida Law. Whether Golbeck’s claim for unjust
18             enrichment under Florida law should be dismissed because she has failed to allege that
19             (a) Oracle’s alleged retention of any benefit was unjust, and (b) any alleged benefit
               was conferred directly on Oracle.
20          8. Declaratory Judgment. Whether Plaintiffs’ claim for declaratory judgment should
21             again be dismissed (a) to the extent Plaintiffs failed to state a claim for any underlying
               claim, and (b) because they fail to allege that they seek anything beyond what they
22             seek in their underlying claims.

23          Oracle summarizes the grounds for dismissal for each cause of action, by Plaintiff, in the
24   chart below:
25      Cause of Action               M. Katz-Lacabe                       J. Golbeck
26
      Intrusion Upon          Court previously denied motion  No extraterritorial application, as
      Seclusion Under          to dismiss (Ord. at 11-13.)      the Court previously determined
27    California Law                                            (Ord. at 19-21.)
      (Second Cause of
28    Action)
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 1      Cause of Action              M. Katz-Lacabe                            J. Golbeck
 2    Intrusion Upon          Not brought by Katz-Lacabe          Failure to allege an intrusion into
      Seclusion Under                                               a private place that was highly
 3    Florida Law (Third                                            offensive
      Cause of Action)
 4
      California              Failure to allege “willful”         Not brought by Golbeck
 5    Invasion of              interception and dismissal as to
      Privacy Act              the types of data the Court has
 6    (Fourth Cause of         already determined do not to
      Action)                  constitute actionable “content”
 7                             (Ord. at 15-16.)
 8    Florida Security of     Not brought by Katz-Lacabe          Failure to state a claim
      Communications                                                (i) because the statute excludes
 9    Act (Fifth Cause of                                           tracking technology, such as the
      Action)                                                       bk-coretag.js from its scope, and
10
                                                                    (ii) because Golbeck had no
11                                                                  reasonable expectation of privacy
                                                                    in her web browsing activity
12
                                                                   Dismissal as to the types of data
13                                                                  the Court has already determined
                                                                    do not constitute actionable
14                                                                  “content” (Ord. at 15-16.)
15    Federal Wiretap         Failure to state a claim because, as this Court previously found,
      Act (Sixth Cause of      Oracle had the consent of at least one party to the alleged
16    Action)                  communications and the crime-tort exception does not apply (Ord. at
                               16.)
17
      Unjust                  Failure to allege that Oracle’s      No extraterritorial application
18    Enrichment:              alleged retention of benefit was
      California Law           unjust
19    (Seventh Cause of
      Action)
20
      Unjust                  Not brought by Katz-Lacabe          Failure to allege that Oracle’s
21    Enrichment:                                                   retention of benefit was unjust or
      Florida Law                                                   that she conferred a benefit
22    (Eighth Cause of                                              “directly” on Oracle
      Action)
23
      Declaratory             Fails to the same extent as underlying claims and for failure to allege
24    Judgment                 they seek anything beyond what is sought in the underlying claims
      (Ninth Cause of
25    Action)
26

27

28
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.        INTRODUCTION

 3             Remaining Plaintiffs Michael Katz-Lacabe and Jennifer Golbeck continue to use this
 4   lawsuit to air their grievances with the advertising technology (“ad tech”) industry at large.
 5   While broadly condemning standard and legally prescribed industry-wide practices, they once
 6   again ask the Court to take on the role of legislator to create a new legal privacy framework.
 7   Despite having pled “barely” enough for some of their claims to survive Oracle’s first motion to
 8   dismiss, Plaintiffs do not allege any new facts to support the additional claims they try to bring,
 9   and they replead claims the Court has already rejected. 1 None of the facts alleged revive the
10   claims the Court already dismissed, nor do they support Golbeck’s new Florida causes of action.
11             Plaintiffs’ core theory remains unchanged: Oracle America, Inc. (“Oracle”), through its
12   Oracle Advertising (“OA”) business, purportedly violates consumers’ privacy by compiling and
13   selling “dossiers” of their personal information. But OA does not compile and sell “dossiers” on
14   specific individuals. Rather, OA provides its customers with access to “interest segments”
15   (comprising pseudonymized groups of consumers likely to be interested in a certain topic, like
16   “sports enthusiast”), which they can use to deliver more relevant and targeted advertising.
17   Plaintiffs attach “Offline Access Request Response Reports” (“OARRR”) to the FAC as
18   “evidence” of the dossiers Oracle purportedly maintains,2 but fail to acknowledge that Oracle
19   creates OARRRs pursuant to the California Privacy Rights Act (“CPRA”) as a legally required
20   consumer right. It cannot be that Oracle’s compliance with California’s privacy law constitutes
21   an invasion of privacy.
22             This is not the only instance in which Plaintiffs ignore that Oracle is lawfully operating
23   within laws designed to protect California consumers. Despite acknowledging Oracle’s status as
24   a registered data broker, Plaintiffs broadly take issue with Oracle’s alleged collection and sale of
25   their personal information—actions expressly contemplated and permitted by statute.3 They
26         1
          (See Ord. at 23.)
           2
          (ECF Nos. 54 (“FAC”), 55-2, 55-3.)
27      3
          (See FAC ¶¶ 21, 26, 39, 89, 105 (citing Cal. Civ. Code § 1798.99.80, which defines “data
28   broker” as an entity permitted to collect and sell to third parties the personal information of
     consumers with whom it has no direct relationship).)
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 1   further ignore that internet users are given the choice to opt out of the alleged data collection

 2   practices. For the second time, Plaintiffs’ allegations do no more than support their individual

 3   positions that the entire online advertising industry should be illegal, even if no data privacy law

 4   currently exists that would render it so.

 5          Plaintiffs unsuccessfully reassert claims rejected by this Court, including California claims

 6   on behalf of Golbeck (a Florida resident) and their putative nationwide class. Moreover, despite

 7   guidance from the Court, Plaintiffs are again unable to state a claim for relief under the vast

 8   majority of their causes of action. More critically, Plaintiffs’ proffered view threatens to upend

 9   essential practices impacting how websites operate, including the use of third parties for basic

10   functionality like hosting. Plaintiffs’ position is untenable; they would have this Court find a

11   wiretap or invasion of privacy every time a website routed any information through a third-party

12   server—a routine action taking place constantly on almost every website. The Court should

13   decline Plaintiffs’ invitation to find a privacy violation simply because they do not like how the

14   modern internet works. For the reasons provided herein, the Court should grant Oracle’s motion

15   to dismiss, this time, with prejudice.

16   II.    THE AD TECH INDUSTRY PROVIDES TOOLS FOR BUSINESSES TO BETTER
            DELIVER TARGETED ADVERTISING
17

18          Oracle is a part of Oracle Corporation, an enterprise software company and cloud service

19   provider. Oracle’s business lines include OA, an enterprise-level suite of analytical tools for

20   digital advertisers to deliver content to audiences most likely to be interested in that content. (See

21   FAC ¶¶ 37-38 (describing how OA customers use OA’s tools to deliver “targeted advertising”

22   and “orchestrate a relevant, personalized experience for each individual”).) Websites derive

23   revenue based on how effectively they deploy ads, which in turn allows website owners to

24   provide online services and content free of charge. In this way, online advertising powers today’s

25   internet by allowing ad tech companies to help businesses deliver targeted advertising to

26   consumers. (See Ord. at 18 n.11 (describing Plaintiffs’ free access to third-party websites as a

27   benefit derived from the monetization of their data).)

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 1              The OA products at issue here (BlueKai, AddThis, and Datalogix), 4 like other products in

 2   the ad tech space, help businesses target their content to pseudonymized interest segments most

 3   likely to be interested in their campaign (e.g., “sports enthusiast”). (See FAC ¶¶ 37-38.) For

 4   example, using the BlueKai Data Management Platform (“DMP”), OA customers can create

 5   targeted ad campaigns through which they can access OA-created interest segments on the Oracle

 6   Data Marketplace; these segments do not include any personally identifiable information. (See,

 7   e.g., id. ¶¶ 36, 64(d).) OA’s products are supported by information received from cookies (id.

 8   ¶ 43), bk-coretag.js (id. ¶¶ 44-50), tracking pixels (id. ¶ 51), device identification (id. ¶ 54), and

 9   cross-device tracking (id. ¶ 55)—technologies that Plaintiffs identify in the FAC.

10              Underlying each of these products is the Oracle ID Graph, which is an internal tool OA

11   uses to connect the data that OA’s customers and data partners have collected across marketing

12   channels and devices. (Id. ¶ 37.) This functionality enhances, supports, and validates OA’s

13   products. (Id.) To ensure consumers’ privacy, Oracle pseudonymizes all personally identifiable

14   information it collects online. (Id. ¶ 60.) Moreover, it does not use any data it receives from

15   customers to create sensitive interest segments, including those related to medical diagnoses,

16   pregnancy, racial, religious, political or sexual orientation, citizenship or immigration status, and

17   prohibits its customers from doing the same. (Id. ¶ 113 (quoting the Oracle Advertising Privacy

18   Policy).) Consumers are not and cannot be harmed by Oracle’s practices, which are ubiquitous in

19   the digital world. Plaintiffs clearly wish to change the status quo, but legislation is the proper

20   vehicle for such change, not litigation.

21   III.       ARGUMENT
22              A.     Plaintiffs Cannot Extend California Law to Non-Residents
23              Plaintiffs assert California claims for (i) intrusion upon seclusion and (ii) unjust
24   enrichment on behalf of a putative nationwide class or, in the alternative, a California sub-class. 5
25          4
           Plaintiffs mention “Moat Reach” and “Oracle Moat” once each in the FAC, both times in a
     footnote. (FAC ¶¶ 55 n.32, 114 n.146.) They fail to specify what, if any, claims they have
26   against either one or what they mean by “Oracle Moat” (which is not an Oracle product).
         5
27         Plaintiffs also bring their ninth cause of action for declaratory judgment on behalf of a
     purported nationwide class. (FAC ¶¶ 264-67.) Because this claim “rise[s] and fall[s] with its
28   other claims” (Ord. at 22), and Plaintiffs cannot extend their California claims nationwide, they
     similarly cannot extend their declaratory relief claim.
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 1   As before, the Court should reject Plaintiffs’ attempt to apply California law extraterritorially to

 2   Golbeck, a resident of Florida, and the broader putative nationwide class. (See Ord. at 22

 3   (dismissing the California intrusion upon seclusion claim as to Golbeck and Plaintiffs’ putative

 4   nationwide class in part because of the significant legal differences in applicable law).) Dismissal

 5   with prejudice is warranted.

 6                  1.      California’s choice-of-law analysis requires dismissal of Golbeck’s
                            California intrusion upon seclusion and unjust enrichment claims
 7

 8          “A federal court sitting in diversity must look to the forum state’s choice of law rules to

 9   determine the controlling substantive law.” Zinser v. Accufix Rsch. Inst., Inc., 253 F.3d 1180,

10   1187 (9th Cir. 2001), amended by 273 F.3d 1266 (9th Cir. 2001). Where, like here, “there is no

11   advance agreement between the parties,” California applies the governmental interest test to

12   select the appropriate law. In re Apple Inc. Device Performance Litig., 347 F. Supp. 3d 434, 445

13   (N.D. Cal. 2018), on reconsideration in part, 386 F. Supp. 3d 1155 (N.D. Cal. 2019).

14          California’s governmental interest test is a three-step process. See Mazza v. Am. Honda

15   Motor Co., Inc., 666 F.3d. 581, 590 (9th Cir. 2012), overruled on other grounds by Olean

16   Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLS, 31 F.4th 651 (9th Cir. 2022). The first

17   step of the inquiry is to ask whether the laws of the affected jurisdictions are “the same or

18   different.” Id. If different, the second step is to examine each jurisdictions’ interest in having its

19   own law applied to determine whether a “true conflict” exists. Id. Finally, if the court finds there

20   is a true conflict, it must ask “which state’s interest would be more impaired if its policy were

21   subordinated to the policy of the other state.” Id. There is no basis to invoke California law on

22   behalf of Golbeck or the putative nationwide class.

23                          a.      The Court should again dismiss Golbeck’s California intrusion
                                    upon seclusion claim
24

25          The Court previously determined that California’s three-pronged governmental interest

26   test disqualifies Golbeck from pursuing a claim for intrusion upon seclusion under California law

27   (see Ord. at 18-22), and nothing alleged in the FAC changes that result.

28          First, the Court rejected Plaintiffs’ argument that there’s only a “superficial difference[]”

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 1   between California’s and Florida’s intrusion upon seclusion claim, instead emphasizing Florida’s

 2   distinct requirement that plaintiffs “show an intrusion into a private place [or quarter] and not

 3   merely a private activity.” (Id. (quoting Hammer v. Sorensen, 824 F. App’x 689, 695 (11th Cir.

 4   2020))); see also infra Section III(B)(1)(a). Nothing in the FAC changes that conclusion.

 5   Golbeck does not allege any facts that eliminate the Florida requirement that the alleged intrusion

 6   be into a private place or quarter, and significant differences remain between the laws of

 7   California and Florida, warranting the same finding under the first prong that the two states’ laws

 8   differ in a way that is “neither ‘trivial [n]or wholly immaterial.’” (Ord. at 19-20.)

 9           Second, the Court found a true conflict exists because there was “indeed a possibility that

10   a successful claim under California law would fail to be meritorious under [Florida law].” (Id. at

11   20.) The Court considered the states’ differing interests and policy choices: (i) Florida’s “private

12   quarter” requirement; (ii) the fact that intrusion upon seclusion “necessitates consideration of

13   legal and social norms,” which are not uniform across the fifty states; (iii) the fact that “Florida’s

14   [intrusion upon seclusion] laws have not stretched to reach claims premised on the collection of

15   online data;” and (iv) that Florida has considered but failed to enact “consumer privacy legislation

16   conferring substantive data privacy rights in the way that California has done.” (Id.) Those same

17   grounds for a true conflict exist here. Though the Florida legislature recently enacted new data

18   privacy legislations for its citizens, it is not operative until July 1, 2024, and its reach is

19   significantly narrower than that of the CPRA.6 Moreover, the balance of the remaining factors

20   still demonstrates a fundamental conflict between the two states’ intrusion upon seclusion claims.

21   Oracle is unaware of a single intrusion upon seclusion claim under Florida law successfully made

22   involving the collection of web browsing data (ECF No. 35 at 5), and for good reason. Because

23   Florida requires intrusions into a private “place,” it is ill-suited to claims arising out of the

24   collection of information from publicly available businesses and websites. (See infra

25
         6
26         Florida Senate Bill 262, creating a Digital Bill of Rights, was signed into law by Governor
     DeSantis on June 6, 2023. Compare Fla. Stat. § 501.702(9) (applying to businesses that have an
27   annual gross revenue exceeding $1 billion and that derive at least half their global revenue from
     selling online ads or providing targeted advertising) with Cal. Civ. Code § 1798.140(d) (applying
28   to businesses that have annual gross revenues over $25 million or otherwise obtain personal
     information on 100,000 or more consumers).
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 1   Section III(B)(1)(a).)

 2          Third, Golbeck unsuccessfully attempts to establish that California’s interest would be

 3   more impaired if its policy were subordinated to that of Florida by adding allegations purporting

 4   to establish California as the “place of the wrong.” (FAC ¶¶ 28-30); see also Hernandez v.

 5   Burger, 102 Cal. App. 3d 795, 802 (1980) (concluding that “with respect to regulating or

 6   affecting conduct within its borders, the place of the wrong has the predominant interest”).

 7   According to Golbeck, California is the “place of the wrong” because the “last acts to make

 8   Oracle liable”—i.e., Oracle’s alleged “creation, maintenance, and provision” of purported data

 9   profiles “to third parties”—occurred in Redwood City. (FAC ¶ 28.) The Court has already

10   rejected this argument, concluding instead that the “place of the wrong” was outside California

11   because “the ‘last event[s]’ involved in the collection and interception of data [] were made

12   possible by an intermediary that may or may not be located in the state.” (Ord. at 21.)

13          Nothing in the FAC revives Golbeck’s claim. She alleges that the “last act” attaching

14   liability to Oracle occurred in California, while simultaneously alleging that Oracle’s intrusion

15   happened when bk-coretag.js intercepted her web browsing data. (See FAC ¶¶ 44-50 (alleging

16   that bk-coretag.js intercepts communications “[w]hen a user opens an Internet webpage”).) This

17   interception, however, would have happened where Golbeck was located, presumably not in

18   California. (Ord. at 21 (“Plaintiffs interactions with the third-party websites do not necessarily

19   take place in California—and presumably do not, when considering [Golbeck].”) Thus, “the last

20   event necessary to make the actor liable”—Golbeck’s “interactions with the third-party

21   websites”—occurred in Plaintiff’s home jurisdiction. (Id.; Mazza, 666 F.3d at 593 (emphasis

22   added));7 see also Popa v. Harriet Carter Gifts, Inc., 52 F.4th 121, 130-32 (3d Cir. 2022)

23   (reasoning from Ninth Circuit and other authority that electronic communications are intercepted

24   on plaintiffs’ browsers—i.e., where the cookies sit and reroute data). Notably, Golbeck does not

25   place herself or her web browsing activity in California.

26
        7
27        The case Plaintiffs cite in the FAC is consistent with Oracle’s position. (FAC ¶ 29 (citing
     Oman v. Delta Air Lines, Inc., 889 F. 3d 1075, 1079 (9th Cir. 2018)).) Unlike in Oman, the
28   conduct that “create[d]” liability here occurred outside California, on Plaintiffs’ browsers. See
     Oman, 889 F.3d at 1079.
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 1          Golbeck’s contention that California has the greater interest in non-resident members of

 2   the putative class because of the CPRA must also be rejected. The plain text of the statute makes

 3   clear that it does not apply to non-Californians. Cal. Civ. Code § 1798.140(i) (defining a

 4   “[c]onsumer” as “a natural person who is a California resident”) (emphasis added); see also

 5   Hayden v. Retail Equation, Inc., 2022 WL 2254461, at *5 (C.D. Cal. May 4, 2022), on

 6   reconsideration, 2022 WL 3137446 (C.D. Cal. July 22, 2022). The allegations in the original

 7   Complaint were insufficient for the Court to extend claims for intrusion upon seclusion under

 8   California law to residents of other states, including Florida, and nothing alleged in the FAC

 9   requires a different conclusion here.

10                          b.      The Court should dismiss Golbeck’s California unjust
                                    enrichment claim
11

12          As with Golbeck’s California intrusion upon seclusion claim, her unjust enrichment claim

13   also fails California’s three-prong governmental interest test and must be dismissed.

14          First, Florida and California law differ on unjust enrichment. Mazza, 666 F.3d at 590.

15   While California requires that the plaintiff “show that the defendant received and unjustly

16   retained a benefit at the plaintiff’s expense,” the plaintiff does not need to allege defendant’s

17   knowledge and acceptance of the benefit. ESG Cap. Partners, LP v. Stratos, 828 F.3d 1023, 1038

18   (9th Cir. 2016). Florida, however, requires plaintiff to prove that the defendant had “knowledge”

19   and “accept[ance]” of the benefit. See N.G.L. Travel Assocs. v. Celebrity Cruises, Inc., 764 So.

20   2d 672, 675 n.5 (Fla. Dist. Ct. App. 2000). Moreover, Florida demands that the “benefit” be

21   conferred “directly” on the defendant, whereas California has no such requirement. Kopel v.

22   Kopel, 229 So. 3d 812, 818 (Fla. 2017). The Ninth Circuit recognized these fundamental

23   differences in Mazza when it found “[t]he elements necessary to establish a claim for unjust

24   enrichment … vary materially from state to state.” 666 F.3d at 591 (refusing to certify a

25   nationwide class for unjust enrichment); see also In re Toyota RAV4 Hybrid Fuel Tank Litig., 534

26   F. Supp. 3d 1067, 1122 (N.D. Cal. 2021) (same, but at pleading stage).

27          Second, those legal differences represent a “true conflict” between the states, as Florida’s

28   “direct benefit” requirement substantially undermines Golbeck’s unjust enrichment claim.
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 1   Mazza, 666 F.3d at 590; see Kopel, 229 So. 3d at 818; see also infra Section III(B)(6). Golbeck

 2   alleges Oracle received her data through data partners and customers who deployed cookies, the

 3   bk-coretag.js, and other pixels on their websites. (FAC ¶¶ 44-50.) Because Oracle allegedly

 4   received Golbeck’s data through “intermediar[ies],” she has failed to allege that she directly

 5   conferred her data, or any benefit derived from it, on Oracle. (Ord. at 18 n.11); see also Peoples

 6   Nat’l Bank of Com. v. First Union Nat’l Bank of Fla., N.A., 667 So. 2d 876, 879 (Fla. Dist. Ct.

 7   App. 1996) (dismissing unjust enrichment claim where intermediary bank, and not plaintiff

 8   lender, directly distributed overpayments to defendant lenders).

 9          Third, Florida’s “interests would be more impaired if its policy were subordinate” to the

10   policy of California, and therefore Florida law must govern Golbeck’s claim. Mazza, 666 F.3d at

11   598 (citation omitted); see also Hernandez, 102 Cal. App. 3d at 802 (finding “the place of the

12   wrong has the predominant interest”). Here, “[Golbeck’s] interactions with the third-party

13   websites”—the activity underlying her unjust enrichment claim—“presumably [did] not” occur

14   “in California” and her new allegations fail to demonstrate otherwise. (Ord. at 21.) Rather, as the

15   Court has already found, “the state where the last event necessary to make the actor liable

16   occurred” was Florida—where she and her browsers and devices are located. (Id. at 20); see

17   supra Section III(A)(1)(a). Thus, Florida’s interest in applying its own laws to its citizens

18   outweighs California’s “little interest in applying its law to compensate citizens of [other states].”

19   See Paulo v. Bepex Corp., 792 F.2d 894, 896 (9th Cir. 1986). Golbeck’s California unjust

20   enrichment claim should be dismissed.

21                  2.      Plaintiffs cannot assert California claims on behalf of non-resident
                            members of the putative nationwide class
22

23          The Court should once again reject Plaintiffs’ attempts to expand California law well
24   beyond its intended reach. (See Ord. at 18-22.) Plaintiffs each seek to represent a proposed
25   nationwide class for claims brought under California law, without a plausible basis of residency
26   or location of injury in California. See In re Apple & AT&T iPad Unlimited Data Plan Litig., 802
27   F. Supp. 2d 1070, 1076 (N.D. Cal. 2011) (dismissing CLRA and UCL claims by non-California
28   residents who purchased their iPad and data plans outside of California); Granfield v. NVIDIA
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 1   Corp., 2012 WL 2847575, at *2-3 (N.D. Cal. July 11, 2012) (dismissing out-of-state plaintiffs’

 2   California claims where plaintiff purchased her computer in Massachusetts); see also In re Toyota

 3   RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d at 1122 (dismissing California unjust enrichment

 4   claim as to nationwide class based on variability in state laws). In fact, the overwhelming

 5   majority of putative class members would not have a single connection to the state. “California’s

 6   interest in applying its law to residents of foreign states is attenuated,” particularly where “the

 7   claims of foreign residents concern[] acts that took place in other states.” (Ord. at 20 (quoting

 8   Mazza, 666 F.3d at 594).) This Court has already held that in light of differing community

 9   standards and legal frameworks among states, the law of California should not be applied

10   nationwide. (Ord. at 21.) As demonstrated above, Plaintiffs have added nothing to the FAC to

11   warrant a different finding here. (See supra Section III(A)(1).)

12          Plaintiffs’ attempt to apply California claims to a nationwide class suffers from an

13   additional issue: Oracle moved its headquarters out of California in 2020. (FAC ¶ 26 (“Until at

14   least December 2020, Oracle’s principal place of business is, or has been for the majority of the

15   class period, Redwood City, California[.]”).) Thus, even if Plaintiffs’ mistaken logic about the

16   locus of injury were to apply, see supra Section III(A)(1)(a), the alleged conduct since the move

17   would have occurred outside the state. The Court expressed concern about this very issue, stating

18   that Oracle’s relocation “would only present additional hurdles in the choice of law analysis for

19   selecting California as the law to apply nationally.” (Ord. at 21 n.12.) Plaintiffs have done

20   nothing to address the Court’s concerns.

21          B.      Plaintiffs’ Third Through Ninth Causes of Action Fail Under Rule 12(b)(6)
22          A court must dismiss a claim under Rule 12(b)(6) if the plaintiff (1) fails to state a
23   cognizable legal theory or (2) has not alleged sufficient facts establishing a claim to relief that is
24   “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
25   Twombly, 550 U.S. 544, 570 (2007)). Conclusory allegations, without more, are insufficient to
26   defeat a motion to dismiss. See McGlinchy v. Shell Chem. Co., 845 F.2d 802, 810 (9th Cir. 1988).
27   The Court must not assume the truth of legal conclusions merely because they are pleaded in the
28   form of factual allegations. Iqbal, 556 U.S. at 677-79; Twombly, 550 U.S. at 555 (plaintiff must
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 1   plead “more than labels and conclusions, and a formulaic recitation of the elements of a cause of

 2   action will not do”); Fed. R. Civ. P. 8(a)(2). The Court must dismiss Plaintiffs’ third through

 3   ninth causes of action, many for the second time, because Plaintiffs fail to state a claim.

 4   Furthermore, the Court may deny Plaintiffs leave to amend where, like here, they have “fail[ed]

 5   to cure deficiencies by amendments previously allowed.” Carvalho v. Equifax Info. Servs., LLC,

 6   629 F.3d 876, 892 (9th Cir. 2010).

 7                  1.      Golbeck fails to state a claim for intrusion upon seclusion under
                            Florida Law (third cause of action)
 8

 9          Generally, Florida courts follow the Restatement’s two-prong approach to intrusion upon

10   seclusion, requiring (i) an intrusion that is (ii) highly offensive to a reasonable person. Hammer

11   v. Sorensen, 824 F. App’x 689, 695 (11th Cir. 2020); see also Restatement (Second) of Torts

12   § 652B (1977). The Supreme Court of Florida, however, has construed the claim “even more

13   narrowly than the Restatement provides.” Hammer, 824 F. App’x at 695. Specifically, Florida

14   law requires a plaintiff to “show an intrusion into a private place and not merely a private

15   activity.” Id. (citing Allstate Ins. Co. v. Ginsberg, 863 So. 2d 156, 161 n.3, 162 (Fla. 2003))

16   (emphasis added). Golbeck does not adequately allege either prong, warranting dismissal.

17                          a.      Golbeck has failed to allege intrusion into a private place
18          Under the first prong, Golbeck must plausibly allege intrusion “into a ‘place’ in which

19   there is a reasonable expectation of privacy.” Spilfogel v. Fox Broad. Co., 433 F. App’x 724, 726

20   (11th Cir. 2011) (citation omitted). The Eleventh Circuit applies the “third-party doctrine” to

21   determine whether the plaintiff’s expectation of privacy was reasonable. United States v. Trader,

22   981 F.3d 961, 967 (11th Cir. 2020), cert. denied, 142 S. Ct. 296 (2021). The third-party doctrine

23   stands for the principle that “a person lacks a reasonable expectation of privacy in information he

24   has voluntarily disclosed to a third party.” Id. (citing Smith v. Maryland, 442 U.S. 735, 743-44

25   (1979)). While Golbeck alleges Oracle collected data on both her offline and online behavior,

26   (FAC ¶¶ 12-19), critically absent is a plausible allegation that Oracle accessed a private place.

27   Golbeck’s few particularized allegations point only to the collection of data from publicly

28   accessible brick-and-mortar businesses (offline) and websites (online)—two domains where
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 1   Golbeck had no reasonable expectation of privacy from third parties. (Id. ¶¶ 12-17, 163-69); see

 2   Spilfogel, 433 F. App’x at 726. This is insufficient.

 3          Offline. Golbeck alleges that Oracle collected her “location information,” “real world

 4   movement data,” and “brick-and-mortar store purchases,” including from a third-party company

 5   called PlaceIQ. (FAC ¶¶ 16-17.) But her purported movements between physical “retailer

 6   locations, restaurants, gas stations, and banks,” represent public activities outside a private

 7   domain, and were observable by countless strangers with whom she had no reasonable

 8   expectation of privacy. See Adams v. State, 436 So. 2d 1132, 1133 (Fla. Dist. Ct. App. 1983) (no

 9   reasonable expectation of privacy “when transacting” with a salesperson “in a place of business

10   open to the public”); see also Spilfogel, 433 F. App’x at 727 (no intrusion upon seclusion in a

11   conversation held on a city street where plaintiff “voluntarily placed herself in a public place”).

12   The “third-party doctrine” applies with full force here, especially where the physical location

13   records that Oracle allegedly obtained from PlaceIQ are confined to locations where Golbeck

14   transacted business (FAC ¶ 16 (“retailer locations, restaurants, gas stations, and banks”); id. ¶¶ 4,

15   12, 57, 59, 64, 67, 102, 130, 147 (describing collection of data from “brick-and-mortar” retail

16   locations), state only the name of the merchant rather than a particular address (id. ¶ 16 n.9; see

17   also id., Ex. B at 27-30), and therefore do not even begin to approach the revealing nature of

18   location data held to be private.

19          Indeed, Golbeck’s leap from merchant names to real-world “physical location[]” data is

20   unsupported by any particularized facts and should be rejected. (Id. ¶ 16; id., Ex. B.) Golbeck

21   cites only to a PlaceIQ press release from 2016, contending it shows that Oracle gets “real world

22   movement data” from PlaceIQ. (Id. ¶ 16 n.9.) But that press release states only that Oracle has

23   access to PlaceIQ’s finished “consumer audiences,” which PlaceIQ “built from real world

24   movement data and observations.” Id. (emphasis added). Golbeck’s OARRR, which lists only

25   merchant names (not physical addresses), corroborates that Oracle does not receive any “real

26   world movement data” from PlaceIQ. (Id., Ex. B at 27-30.) There is no basis to infer that Oracle

27   collected Golbeck’s physical location data, and because the locations she alleges Oracle collected

28   are from public merchants, Golbeck’s allegations regarding offline data fail to support her
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 1   intrusion upon seclusion claim.

 2          Online. Golbeck’s allegations related to online tracking fare no better. The Eleventh

 3   Circuit has analogized surfing the web to navigating public highways, especially where internet

 4   users fail to undertake any effort to “shroud” their internet activity. United States v. Taylor,

 5   935 F.3d 1279, 1284 n.4 (11th Cir. 2019) (comparing “browsing the open internet” to “traveling

 6   along the equivalent of ‘public highways’”). Golbeck’s theory that collecting web browsing data

 7   is “tantamount to erecting a camera in her home” is, therefore, directly contrary to the Eleventh

 8   Circuit’s view. Id.; (FAC ¶ 163).

 9          When someone accesses a website, the website owner, at a minimum, is aware of the

10   visit—like a business owner recognizing that a person has walked into their shop. Behavior on a

11   website, like behavior in a brick-and-mortar store, has no resemblance to behavior in the

12   “solitude” of one’s home, because the internet user has knowingly disclosed her presence to the

13   website owner. See Jacome v. Spirit Airlines Inc., 2021 WL 3087860, at *7 (Fla. Cir. Ct. June 17,

14   2021) (“[T]here can be no reasonable expectation of privacy from a third-party website owner

15   when [an internet user] voluntarily browses through that third-party’s website.”); (contra FAC

16   ¶ 163.) Moreover, an internet user also discloses her browsing history to at least one additional

17   third party—the user’s Internet Service Provider (“ISP”). Several circuit courts, including both

18   the Ninth and Eleventh Circuits, are in accord that “subscriber information disclosed during

19   ordinary use of the internet,” such as IP addresses and web browsing history, fall within the

20   “third-party doctrine” because ISPs are, by default, aware of internet user’s conduct on the

21   internet. See Trader, 981 F.3d at 968 (collecting cases); see also United States v. VanDyck,

22   776 F. App’x 495, 496 (9th Cir. 2019) (reaffirming that “internet users have no expectation of

23   privacy in the IP addresses of the websites they visit” because “they should know” this

24   information is provided to their ISPs) (citation omitted). Considering the numerous entities with

25   whom Golbeck voluntarily shared her online movements, such online activity cannot constitute

26   any intrusion into any private place.

27                          b.      Golbeck fails to allege a “highly offensive” intrusion
28          Golbeck’s Florida intrusion upon seclusion claim also fails because she does not plausibly
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 1   allege that Oracle’s conduct was so “outrageous in character, and so extreme in degree, as to go

 2   beyond all possible bounds of decency.” Oppenheim v. I.C. Sys., Inc., 695 F. Supp. 2d 1303,

 3   1309-10 (M.D. Fla.), aff’d, 627 F.3d 833 (11th Cir. 2010) (citation omitted). Nor can she.

 4          Information more sensitive than anything at dispute in this case has failed under the

 5   Eleventh Circuit’s “outrageous[ness]” standard:

 6         Sensitive financial information found in a credit report. Celestine v. Cap. One,
            2017 WL 2838185, at *4 (S.D. Fla. June 30, 2017); see also Stasiak v. Kingswood Co–Op,
 7          Inc., 2012 WL 527537 (M.D. Fla. Feb. 17, 2012) (obtaining credit report without
            permission does not rise to the level of outrageousness required for invasion of privacy).
 8         Unredacted social security number. See Regions Bank v. Kaplan, 2021 WL 4852268, at
            *13 (11th Cir. Oct. 19, 2021) (applying same outrageousness standard to publication of
 9          private facts and dismissing claim).
10         Private medical records. See Post-Newsweek Stations Orlando, Inc. v. Guetzloe, 968 So.
            2d 608, 613 (Fla. Dist. Ct. App. 2007) (dismissing publication of private facts claim).
11         Attorney-client communications. Id.
12   The types of data on which Golbeck bases her claim—web browsing history, credit card

13   purchases, and select data regarding retail store visits (FAC ¶¶ 12-18)—are a far cry from the sort

14   of intrusions that Florida courts have found highly offensive. None of the online information

15   allegedly collected (URLs, page visits, and interactions on a website) even approaches the

16   sensitivity of information that courts have found outrageous. Stasiak, 2012 WL 527537, at *3.

17   Nor can Golbeck meet the requisite threshold by alleging Oracle’s collection spanned “hundreds

18   of [] websites.” (FAC ¶ 15); see, e.g., Shadlich v. Makers Nutrition LLC, 2020 WL 5255133, at

19   *2 (M.D. Fla. Sept. 3, 2020) (collecting cases where ongoing phone calls from debt collectors and

20   telemarketers were not sufficiently outrageous for intrusion claims). The same is true for

21   Golbeck’s credit card purchases and location data (“offline data”) (FAC ¶¶ 16-17), which are

22   both derived from shopping behaviors and, by Golbeck’s admission, convey generalized

23   “spending habits and preferences.” (Id. ¶ 17; see also id., Ex. B (listing merchant names, interest

24   segments, and the frequency of shopping at certain categories of stores)); see also supra

25   Section III(B)(1)(a). Because Golbeck’s allegations focus on “spending habits,” such as the

26   frequency she shops at certain stores (Id. ¶ 17; see also id., Ex. B), this data is even less sensitive

27   than that conveyed in a credit report, and not so “outrageous in character, and so extreme in

28   degree, as to go beyond all possible bounds of decency.” Oppenheim, 695 F. Supp. 2d at 1309-10

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 1   (citation omitted); see also Celestine, 2017 WL 2838185, at *4 (dismissing intrusion upon

 2   seclusion claim involving unauthorized access of plaintiff’s credit report over 86 times). Her

 3   Florida intrusion upon seclusion claim, therefore, must be dismissed.

 4                  2.      Katz-Lacabe repeats his original CIPA claim, which again fails as a
                            matter of law (fourth cause of action)
 5

 6          As before, Katz-Lacabe bases his CIPA claim on § 631(a) subsections (ii)-(iv):

 7   (ii) willfully attempting to read or to learn the contents or meaning of a communication in transit

 8   over a wire; (iii) attempting to use or communicate information obtained from the above conduct;

 9   and (iv) aiding and abetting another in the above conduct. Cal. Penal Code § 631(a); (see FAC

10   ¶ 180).8 Despite the Court’s prior ruling, Katz-Lacabe alleges Oracle intercepted several types of

11   web browsing data via its bk-coretag.js that, the Court held, do not constitute “contents” under the

12   statute. (FAC ¶¶ 4-10.) While only two types of data (“referrer URLs” and “data entered into

13   forms”) survived the Court’s prior “contents” analysis, Katz-Lacabe realleges all nine types of

14   data with no new fact allegations in support. (Id.; see also Ord. at 15 n.9.) The FAC is

15   essentially a motion for reconsideration as to the types of data the Court has already found to

16   constitute non-actionable record information. (Id.) There is no reason to reverse course, and

17   Katz-Lacabe’s CIPA claim should be dismissed, at minimum, as to the types of information

18   already rejected by this Court. (Id.) His claim must also be dismissed in its entirety for failure to

19   allege “willful[]” interception. See Cal. Pen. Code § 631(a)(ii).

20                          a.      Katz-Lacabe realleges elements of his CIPA claim that the
                                    Court has dismissed as non-actionable record information
21

22          Katz-Lacabe reasserts his CIPA claim based on the same nine types of data on which he

23   based his original claim. (FAC ¶¶ 47, 184 n.157.) The Court has already concluded that

24   (1) webpage titles, (2) webpage keywords, (3) purchase intent signals, (4) add to cart actions,

25   (5) page visits, (6) the date and times of website visits, and (7) IP addresses are “record

26   information that do[] not constitute ‘content’” under CIPA and there is no reason for a different

27      8
          Although CIPA § 631(a) is not formally separated into subdivisions, Oracle uses the
28   subdivision structure for clarity. Katz-Lacabe does not allege a violation of subsection (i) for
     intentionally wiretapping with any telegraph or telephone wire.
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 1   outcome this time around. (See Ord. at 15 n.9 (quoting In re Zynga Priv. Litig., 750 F.3d 1098,

 2   1106 (9th Cir. 2014)).)9

 3          Despite the Court’s prior ruling, Katz-Lacabe again tries to argue that webpage titles,

 4   webpage keywords, purchase intent, and add-to-cart actions constitute “content.” 10 The Court has

 5   already decided this issue. (Ord. at 15-16.) In fact, Katz-Lacabe cites the same cases in the FAC

 6   that Plaintiffs already put before the Court in their opposition to Oracle’s original motion to

 7   dismiss. (FAC ¶ 184 n.157 (citing In re Google RTB Consumer Priv. Litig. (“Google RTB”), 606

 8   F. Supp. 3d 935, 949 (N.D. Cal. 2022) and Saleh v. Nike, 562 F. Supp. 3d 503, 518 (C.D. Cal.

 9   2021)); see also ECF No. 30 at 19 (same).) While these cases discuss the data as part of broader

10   allegations, they do not hold that it is content. See Google RTB, 606 F. Supp. 3d at 949 (does not

11   specifically identify webpage keywords and webpage titles as content); see also Saleh, 562 F.

12   Supp. 3d at 518 (explicitly acknowledges “not all of this information may constitute [content]”).

13   Other courts, meanwhile, have expressly found that this data is not content. See Zynga, 750 F.3d

14   at 1106 (browsing history and URLs devoid of search terms are not “content”); see also Yoon,

15   549 F. Supp. 3d at 1082-83 (same, finding that unlike the “words of a text message or an email,”

16   this data does not convey substantive meaning); Goldstein v. Costco Wholesale Corp., 559 F.

17   Supp. 3d 1318, 1321 (S.D. Fla. 2021) (finding content views and mouse clicks on websites “did

18

19
        9
            Oracle acknowledges the Court’s ruling that Plaintiffs pled “just barely enough” regarding
20   referrer URLs and webform entries. (Ord. at 16.) Oracle preserves its arguments that (i) referrer
     URLs constitute “content” only to the extent they contain “search terms,” rather than “basic
21   identification and address information” and (ii) data entered into webforms constitute “content”
     only to the extent they explain the meaning behind a person’s communication with a website,
22   such as the substantive answers to a questionnaire. See Zynga, 750 F.3d at 1107-09 (referrer
     URLs); see In re Pharmatrak, Inc., 329 F.3d 9 (1st Cir. 2003) (webforms). The FAC remains
23   devoid of particular allegations as to both.
          10
24           Katz-Lacabe does not add any allegations regarding page visits, the date and time of
     website visits, and IP addresses; nor does he offer any reason why the Court should depart from
25   its earlier ruling that this data is not “content.” (Ord. at 15 n.9.) Other cases in the Ninth Circuit
     are in accord. See, e.g., United States v. Reed, 575 F.3d 900, 917 (9th Cir.2009) (holding
26   “origination, length, and time” of telephone call was not “content”); see also Yoon v. Lululemon
     USA, Inc., 549 F. Supp. 3d 1073, 1082 (finding IP addresses, pages viewed, and date and time of
27   visit were not content). Moreover, Plaintiffs appear to have abandoned their wiretapping claims
     as to date and time of access and IP addresses altogether. Plaintiffs list these categories of data
28   only in their generalized statement of facts (FAC ¶ 47), not in the substantive allegations under
     any wiretapping cause of action. (See id. ¶¶ 183 (CIPA), 199 (FSCA), 218 (ECPA).)
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 1   not convey the substance of any communication”).11

 2           Webpage titles and keywords express the attributes of a website, but do not explain why

 3   an internet user accessed that website. (Contra FAC ¶¶ 184, 186.) Similarly, purchase intent

 4   signals and add-to-cart actions are based on standalone mouse clicks—at best, they are conjecture

 5   about the meaning or purpose behind the action and, contrary to Katz-Lacabe’s allegations, lack

 6   the expressive certainty of the words exchanged in a phone call to a bookstore. (Id.) Because

 7   these types of data do not reveal the “intended message conveyed” when users interact with a

 8   webpage they cannot qualify as “content[].” Zynga, 750 F.3d at 1106.

 9                          b.      Katz-Lacabe fails to allege “willful” interception of the content
                                    of his communications
10

11           CIPA § 631(a) requires a showing that the defendant “willfully and without the consent of

12   all parties” “reads, or attempts to read” the “contents” of a communication. Cal. Pen. Code

13   § 631(a)(ii) (emphasis added). Katz-Lacabe has not alleged (and cannot allege) that Oracle acted

14   with the requisite intent to violate CIPA.

15           Courts evaluating intent under other sections of CIPA require that the plaintiff prove the

16   eavesdropping or interception was done “with the purpose or desire” of violating the elements of

17   the statute, or with “knowledge to a substantial certainty.” People v. Super. Ct. (Smith), 70 Cal.

18   2d 123, 134 (1969) (analyzing CIPA § 632’s intent requirement) (emphases added). Section

19   631(a)’s willfulness requirement should be read consistently with the intent requirement in § 632.

20   Cal. Pen. Code § 632(a) (“A person who, intentionally and without the consent of all parties to a

21   confidential communication, uses [a device] to eavesdrop upon or record[.]”) (emphasis added).

22   California courts routinely treat willfulness interchangeably with intentionality. See Cal. Pen.

23   Code § 7(1) (defining “willfully” to imply “a purpose or willingness to commit the act”); see also

24   People v. Atkins, 25 Cal. 4th 76, 85 (2001) (interpreting “willfully” as acting “intentionally” but

25   “without regard to motive or ignorance” of the law) (citation omitted). Because CIPA §§ 631(a)

26   and 632 are “closely related” in the Legislature’s goal of controlling the use of eavesdropping

27
        11
28          Because both the FSCA and CIPA base their “content” requirement on ECPA, the analysis
     is the same under all three. See infra Section III(B)(3)(c).
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 1   devices, “a general rule of statutory construction” requires that their willfulness and intentionality

 2   requirements be “construe[d]” the same. Cal. Soc’y of Anesthesiologists v. Brown, 204 Cal. App.

 3   4th 390, 403 (2012); see also Cal. Pen. Code § 630 (expressing legislative intent).

 4           The only allegation Katz-Lacabe makes in support of Oracle’s purported intention to

 5   violate CIPA are two barebones claims that Oracle intended to use a recording device and that it

 6   acted “deliberate[ly]” and “purposeful[ly].” (FAC ¶ 188.) This fails as a matter of law.

 7   Katz-Lacabe fails to allege that Oracle intended to use a recording device for some impermissible

 8   purpose—i.e., that Oracle intentionally (i) sought to capture the “content” of electronic

 9   communications (ii) without consent. Id.; see also Flores-Figueroa v. United States, 556 U.S.

10   646, 652 (2009) (expressing the general rule that a criminal statute’s mens rea is applied to each

11   element); Lopez v. Apple, Inc., 519 F. Supp. 3d 672, 689 (N.D. Cal. 2021) (similarly applying

12   CIPA § 632’s intent requirement to its confidentiality element, where the statute prohibits

13   intentional recording of confidential communications). First, Oracle’s customers customize the

14   bk-coretag.js, deploy it for their own ad campaigns, 12 and choose what portion of the collected

15   data they wish to share with Oracle. The fact that Oracle provides its customers with the bk-

16   coretag.js tool does not establish that Oracle knew with “substantial certainty” that some of its

17   customers might share and Oracle thereby might receive the “content” of a communication rather

18   than record information. See Smith, 70 Cal. 2d at 134. Indeed, “deploy[ing] recording devices

19   that might happen” to record the content of an internet user’s communications is insufficient to

20   establish intent. Lozano v. City of Los Angeles, 73 Cal. App. 5th 711, 727-28 (2022) (emphasis

21   added). Second, because customers configure the bk-coretag.js to fire on their websites (not

22   Oracle’s), and because it is those website operators, and not Oracle, that are in a position to

23   disclose the cookies and obtain the user’s consent, Oracle could not have known that the alleged

24

25
        12
26         Though Plaintiffs allege “Oracle places the bk-coretag.js” on its customers’ websites (FAC
     ¶ 182), they admit each customer expressly permits Oracle to do so. (Id. ¶ 53 (“Oracle has
27   agreements with numerous high-traffic websites like the New York Times, ESPN, and Amazon to
     place … pixels on their websites.”).) And of course, despite Plaintiffs’ allegations, each customer
28   places the cookie on its own website, as Oracle has no way of altering the code of a third party’s
     website.
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 1   data it received was collected without prior consent. 13 In fact, OA’s privacy policy refers internet

 2   users to the disclosures on its customers’ websites for notice of any collection practices. (FAC

 3   ¶ 109 n.140 (hyperlinking the OA Privacy Policy).)14 As a result, any alleged impermissible

 4   capture of content could not have been done knowingly, intentionally, or willfully and Katz-

 5   Lacabe’s CIPA claim should be dismissed in its entirety as a result.

 6                           c.      Katz-Lacabe’s CIPA claims under §§ 631(a)(iii)-(iv) also fail for
                                     failure to state a predicate claim
 7

 8            Katz-Lacabe’s claims under CIPA §§ 631(a)(iii)-(iv) are predicated on a violation of

 9   §631(a)(ii). Cal. Penal Code § 631(a); Tavernetti v. Super. Ct., 22 Cal. 3d 187, 192 (1978);

10   Mastel v. Miniclip SA, 549 F. Supp. 3d 1129, 1137 (E.D. Cal. 2021). Because his CIPA

11   § 631(a)(ii) claim fails in its entirety for failure to plausibly allege “willful[]” interception, so

12   must his remaining ones. Id.

13                   3.      Golbeck fails to state a claim for wiretapping under the FSCA (fifth
                             cause of action)
14

15            Golbeck asserts a single claim for violations of two sections of Florida’s wiretapping

16   statute, §§ 934.03(1)(a) and 934.03(1)(d). (FAC ¶¶ 192-93.) Subsection (1)(a) prohibits the

17   intentional interception of the “contents” of an “electronic communication,” while section (1)(d)

18   punishes the “use” of information obtained as a result of such interception. See also Fla. Stat.

19   § 934.03(1)(a), (d). Golbeck fails to state a claim under either section (1)(a) or (1)(d) 15 because

20   the information allegedly obtained by Oracle’s bk-coretag.js does not qualify under the FSCA’s

21   definition of “electronic communication” and she fails to plead that the information is subject to a

22
         13
            Katz-Lacabe’s “lack of specificity” in his allegations—his inability to offer a single
23   example of either a full-string URL or web form allegedly collected by Oracle or identify even
     one website whose privacy policy was deficient in disclosing use of the bk-coretag.js—further
24   undermines any argument that Oracle knew or had substantial certainty it was (i) receiving these
     types of data and (ii) receiving them without prior consent. (Ord. at 15.)
25       14
            For the same reasons as the Court previously found with respect to Plaintiffs’ original
     Complaint, the OA Privacy Policy is incorporated by reference into the FAC because it is
26   “referenced . . . by name and by link.” (Ord. at 7); Haskins v. Symantec Corp., 2013 WL
     6234610, at *1 n.1 (N.D. Cal. Dec. 2, 2013) (taking judicial notice of website referred to
27   extensively in complaint).
         15
28          Because Golbeck fails to state a claim under FSCA § 934.03(1)(a), and subsection (1)(d) is
     based on a predicate violation of subsection (1)(a), her claim under subsection (1)(d) also fails.
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 1   reasonable expectation of privacy. Separately, Golbeck’s FSCA claim must fail as to the seven

 2   types of data this Court has previously found to constitute non-content record information. See

 3   supra Section III(B)(2)(a) & n.9.

 4                           a.      Oracle’s bk-coretag.js is outside the scope of the FSCA because
                                     the data it captures are not “electronic communications”
 5

 6           Florida courts have held that the FSCA does not apply to web-based JavaScript software,

 7   like the bk-coretag.js. Jacome, 2021 WL 3087860, at *3 (dismissing near-identical FSCA claims

 8   premised on “commonplace” JavaScript-based web analytics tools deployed to “improve a

 9   website browsers’ experience”); Cardoso v. Whirlpool Corp., 2021 WL 2820822, at *2 (S.D. Fla.

10   July 6, 2021) (adopting Jacome’s ruling on similar facts); Connor v. Whirlpool Corp., 2021 WL

11   3076477, at *2 (S.D. Fla. July 6, 2021) (same). This conclusion is supported both by the plain

12   text of the Act and its legislative history.

13           The plain text of the statute confirms that the Legislature never intended to apply the

14   FSCA to online analytics tools like Oracle’s bk-coretag.js. Golbeck alleges the bk-coretag.js

15   redirects the content of her electronic communications to website owners by sending a parallel

16   electronic communication back to Oracle. (FAC ¶¶ 14, 45 (describing how the JavaScript code

17   sends a “separate ‘GET’ request[]” to Oracle’s servers containing “copies of contents in the

18   initial” transmission to the website).) But because the FSCA defines “electronic

19   communications” to exclude “[a]ny communication from an electronic or mechanical device

20   which permits the tracking of the movement of a person or an object,” Golbeck’s alleged parallel

21   transmission is exempt under the statute. Jacome, 2021 WL 3087860, at *3 (finding web

22   communications entered on a website and transmitted by JavaScript software back to an analytics

23   company “definitionally excluded” because the software “tracks a website browser’s

24   movements”) (quoting Fla. Stat. § 934.02(12)(c)). Much like the software at issue in Jacome,

25   Oracle’s bk-coretag.js “tracks” a website user’s movements and therefore falls outside the scope

26   of the FSCA. Id.; (see also FAC ¶ 50 (alleging that “Oracle’s bk-coretag.js JavaScript code has

27   been recognized by security researchers as a tracking mechanism” and an “online activity

28   ‘tracker’”).)
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 1          This plain text interpretation is supported by the legislative history. When the Florida

 2   legislature first passed the FSCA in 1969, it was concerned with wire and oral communications.

 3   Jacome, 2021 WL 3087860, at *2; see also Fla. Stat. § 934.01. The Florida Legislature added

 4   “electronic communications” only after Congress amended the ECPA in 1986 to include the term

 5   for purposes of protecting “computerized recordkeeping systems.” See State v. Jackson, 650 So.

 6   2d 24, 27 (Fla. 1995); see also Sen. Rep. No. 99-541, at 3 (1986). But even then, Congress, and

 7   by extension the Florida Legislature, were still unconcerned with the collection of routine

 8   browser information. Jackson, 650 So. 2d at 27 (noting that the FSCA “is modeled after” ECPA

 9   and that the court “may look to the federal legislative history as a guide”). Instead, they were

10   focused on the transmission of (i) “financial records or funds transfers among financial

11   institutions,” (ii) “medical records between hospitals and/or physicians’ offices,” and (iii) “the

12   transmission of proprietary data among the various offices of a company.” See Sen. Rep. No. 99-

13   541, at 3, 8; see also Jacome, 2021 WL 3087860, at *2. Importantly, Golbeck fails to allege

14   Oracle’s bk-coretag.js collects any data that falls within those categories. (FAC ¶¶ 197-99.)

15                          b.      Golbeck has failed to allege a reasonable expectation of privacy
                                    in her online browsing activity
16

17          Golbeck’s FSCA claim fails for a separate and additional reason: under Florida law, she

18   lacks a reasonable expectation of privacy in the data captured by the bk-coretag.js. Much like her

19   Florida intrusion upon seclusion claim, see supra Section III(B)(1)(a), the FSCA requires

20   Golbeck to sufficiently plead a reasonable expectation of privacy. Jacome, 2021 WL 3087860, at

21   *3. Again, the third-party doctrine is critical to evaluating her claim. See supra

22   Section III(B)(1)(a) (citing Trader, 981 F.3d at 967 (“[A] person lacks a reasonable expectation

23   of privacy in information he has voluntarily disclosed to a third party.”).) Golbeck cannot make

24   this threshold showing for two reasons. First, she had no “reasonable expectation of privacy”

25   from the “website owner when [she] voluntarily browse[d] through” its website. Jacome, 2021

26   WL 3087860, at *7. All of Golbeck’s data captured by the bk-coretag.js would have necessarily

27   been exposed to the website owners who deployed the bk-coretag.js in the first place, and

28   therefore ceased being private. Second, the bk-coretag.js captured several categories of
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 1   “subscriber information”—such as URLs, page visits, IP address, date and time information—that

 2   Golbeck simultaneously shared with another third party: her ISP. Trader, 981 F.3d at 968

 3   (affirming the third-party doctrine as to web “subscriber information” shared with ISPs). Thus,

 4   under the third-party doctrine, Golbeck forfeited any reasonable expectation of privacy in data

 5   captured by the bk-coretag.js. Id.

 6                          c.      Golbeck’s FSCA claim fails, at minimum, as to seven types of
                                    non-content information
 7

 8           Finally, Golbeck’s claim fails in part because she fails to allege the interception of content

 9   information. The FSCA (like CIPA and ECPA) applies only to “contents” of a communication,

10   which it defines as including “any information concerning the substance, purport, or meaning of

11   that communication.” Fla. Stat. § 934.02. The analysis of “content” under the FSCA is the same

12   as under ECPA, and by extension, the same as under CIPA. See Goldstein, 559 F. Supp. at 1322

13   (applying Ninth Circuit law on ECPA’s definition of “content” to a claim under the FSCA); see

14   also Brodsky v. Apple Inc., 445 F. Supp. 3d 110, 127 (N.D. Cal. 2020) (holding that the analysis

15   of “content” is the same under both CIPA and ECPA). Golbeck’s FSCA claim is premised on

16   Oracle’s alleged interception of the same nine types of internet browsing data as her CIPA and

17   ECPA claims. (FAC ¶¶ 47, 199.) Because this Court has already determined that the “webpage

18   titles, webpage keywords, the date and times of website visits, IP addresses, page visits, purchase

19   intent signals, and add-to-cart actions” underpinning Katz-Lacabe’s CIPA claim do not constitute

20   “content,” the same outcome is warranted here. (See Ord. at 15 n.9; see also supra Section

21   III(B)(2)(a).)

22                    4.    Plaintiffs fail to state a claim under the ECPA (sixth cause of action)
23           Plaintiffs must show “an intentional interception of the contents [of] any wire, oral, or

24   electronic communication through the use of a device” to establish a violation of the ECPA.

25   (FAC ¶ 212); 18 U.S.C. § 2511(1)(a). As an initial matter, as the Court has already ruled (Ord. at

26   16), no violation exists where at least one party to the allegedly intercepted communication

27   consented to the interception. See In re Yahoo Mail Litig., 7 F. Supp. 3d 1016, 1026 (N.D. Cal.

28   2014) (“[T]he consent of one party is a complete defense to a Wiretap Act claim.”). The consent

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 1   of both parties is required only if plaintiff shows that the primary motivation or a determining

 2   factor in defendant’s actions was to injure plaintiff tortiously. Brown v. Google LLC, 525 F.

 3   Supp. 3d 1049, 1067 (N.D. Cal. 2021). Here, too, the Court rejected Plaintiffs’ view, concluding

 4   that the exception “does not apply to a case such as this.” (Ord. at 16.) Additionally, and as with

 5   the CIPA claim, Plaintiffs have failed to allege that Oracle intercepted the “contents” of their

 6   communications. See infra Section III(B)(3)(c) (“content” analysis is the same for all three

 7   wiretapping statutes).

 8           Plaintiffs do not allege any facts that alter the Court’s previous ruling that the consent of

 9   Oracle’s customers dooms their ECPA claim, and instead attempt to plead that the crime-tort

10   exception applies to Oracle’s conduct. (See FAC ¶¶ 226-29 (alleging Oracle intercepted their

11   information “for the purpose of committing any criminal or tortious act”) (quoting 18 U.S.C.

12   § 2511(2)(d)).)16 As the Court previously found, the crime-tort exception does not apply here,

13   “where Defendant’s ‘purpose has plainly not been to perpetuate torts on millions of Internet users,

14   but to make money.’” (Ord. at 16 (quoting Rodriguez, 2021 WL 2026726, at *6 n.8).) The same

15   result is warranted.

16           In their second attempt to invoke the exception, Plaintiffs still do not come close to

17   alleging that the primary motivation or a determining factor in Oracle’s actions was to injure

18   Plaintiffs tortiously. Brown, 525 F. Supp. 3d at 1067. Instead, they merely state, in a conclusory

19   manner, that Oracle acted with the intent to invade Plaintiffs’ privacy. (See, e.g., (FAC ¶¶ 226-

20   27, 229.) The Court should reject Plaintiffs’ mere “formulaic recitation of the elements” of this

21   cause of action. See Twombly, 550 U.S. at 555.17 Moreover, Oracle’s alleged conduct—the

22   purported collection and sale of consumer data—is, by Plaintiffs’ own admission, motivated by

23
        16
            Plaintiffs’ new allegation that “[a]ny disputes as to Oracle’s intent under the wiretapping
24   statute are to be decided by the jury” (FAC ¶ 229), is contradicted by case law. Courts regularly
     resolve the issue of a defendant’s intent at the pleading stage—just as this Court has already done
25   in this case. (Ord. at 16); see Rodriguez v. Google LLC, 2021 WL 2026726, at *6 n.8 (N.D. Cal.
     May 21, 2021); In re Google Inc. Gmail Litig., 2014 WL 1102660, at *18 n.13 (N.D. Cal.
26   Mar. 18, 2014). Oracle’s intent under ECPA, and by extension, the applicability of the crime-tort
     exception, can be decided at this stage of litigation.
27       17
            Plaintiffs cherry-pick an out-of-context quote from Oracle’s CEO in 2016 (FAC ¶ 227), but
28   that quote does nothing to establish that Oracle acted with the primary motivation to commit a
     tort, as required.
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 1   profit, not by a desire to invade Plaintiffs’ privacy. (See, e.g., FAC ¶ 248 (alleging Oracle

 2   “profited from disclosing users’ browsing histories, internet activity, and real world activity”)

 3   (emphasis added); id. ¶ 42 (“Oracle . . . monetizes this data”) (emphasis added).) Plaintiffs allege

 4   that the “mere existence” of this lawful purpose does not “sanitize” an interception done for an

 5   “illegitimate purpose.” (FAC ¶ 228 (quoting Sussman v. ABC, 186 F.3d 1200, 1202 (9th Cir.

 6   1999).) This misses the point; there is nothing for Oracle to sanitize given that it did not act with

 7   any “illegal or tortious purpose” to start. Sussman, 186 F.3d at 1203. Plaintiffs fail to allege any

 8   facts to show that Oracle’s primary motivation was to tortiously capture the contents of their

 9   communications, which requires dismissal of the ECPA claim, with prejudice.

10                  5.      Katz-Lacabe fails to state a claim for unjust enrichment under
                            California law (seventh cause of action)
11

12           To state a claim for unjust enrichment under California law, Katz-Lacabe must allege:

13   (1) receipt of a benefit, and (2) unjust retention of the benefit at the expense of another. Stratos,

14   828 F.3d at 1038. Plaintiff’s allegations as to the second prong fail. 18

15           As an initial matter, Katz-Lacabe did not comply with two clear instructions from the

16   Court. First, the Court asked Katz-Lacabe to show that he “directly expended [his] own

17   resources” or “that [his] property has become less valuable.” (Ord. at 17); In re Facebook, Inc.

18   Internet Tracking Litig., 956 F.3d 589, 600 (9th Cir. 2020). Katz-Lacabe has done neither, which

19   alone warrants dismissal of this claim with prejudice. His allegation that he is not required to

20   show a corresponding loss are beside the point. (See FAC ¶¶ 240-48.) Second, the Court asked

21   him to explain “why the access [he] received to [Oracle’s customers’ websites] would not defeat

22   the unjust enrichment claim.” (Ord. at 18 n.11.) He does not do so, and again, his failure here

23   requires dismissal with prejudice.

24           Separately, Katz-Lacabe does not establish any adequate basis for his claim that it would

25   be “unjust” for Oracle to retain his data. See Stratos, 828 F.3d at 1038. His allegations are

26
        18
27         Because California law cannot be applied extraterritorially to Golbeck or the proposed
     nationwide class (see Section III(A), supra), Oracle construes the California unjust enrichment
28   claim as alleged solely by Katz-Lacabe and the California sub-class. Should the Court decide that
     extraterritorial application is warranted, Oracle’s arguments here should apply to both Plaintiffs.
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 1   two-fold: (1) he did not consent to Oracle’s collection or use of his data (FAC ¶¶ 249-50); and

 2   (2) Oracle’s conduct constitutes an “invasion of privacy,” and is therefore “inherently unjust” (see

 3   FAC ¶¶ 249, 249(a), 252). Neither is sufficient. First, the Court already rejected the consent

 4   argument: “Plaintiffs here were at no time in direct privity with Oracle. As a result, Defendant

 5   did not collect information from Plaintiffs in a manner contrary to expectations created by the

 6   consent process.” (Ord. at 17 (citing Hart v. TWC Prod. & Tech. LLC, 526 F. Supp. 3d 592, 597

 7   (N.D. Cal. 2021)).) Although given an opportunity to amend, Katz-Lacabe does not (and cannot)

 8   establish that he is in direct privity with Oracle. (See, e.g., FAC ¶ 52.) Second, Katz-Lacabe’s

 9   conclusory allegation that Oracle’s conduct was “inherently unjust,” without more, is insufficient

10   to state a claim. See McGlinchy v. Shell Chem. Co., 845 F.2d 802, 810 (9th Cir. 1988) (holding

11   that conclusory allegations are insufficient to defeat a motion to dismiss).

12                  6.      Golbeck fails to state a claim for unjust enrichment under Florida law
                            (eighth cause of action)
13

14          To state a claim for unjust enrichment under Florida law, Golbeck must adequately plead

15   that: (1) she has “conferred a benefit on the defendant, who has knowledge thereof; (2) defendant

16   voluntarily accept[ed] and retain[ed] the benefit conferred; and (3) the circumstances are such that

17   it would be inequitable for the defendant to retain the benefit without paying the value thereof to

18   the plaintiff.” Hillman Const. Corp. v. Wainer, 636 So. 2d 576, 577 (Fla. Dist. Ct. App. 1994).

19   Florida courts dismiss unjust enrichment claims where plaintiffs received the benefit of the

20   bargain. See N.G.L., 764 So. 2d at 675 (“Unjust enrichment ‘cannot exist where payment has

21   been made for the benefit conferred.’”) (citation omitted). Similar to Katz-Lacabe (see

22   Section III(B)(5), supra), Golbeck fails to allege that she has not received the benefit of the

23   bargain given that she has been able to freely access “hundreds” of websites. (FAC ¶ 15.)

24          Additionally, Florida’s unjust enrichment law demands that the “benefit” be conferred

25   “directly” on the defendant. Kopel, 229 So. 3d at 818. Even accepting Golbeck’s argument that

26   she has conferred a benefit on Oracle, she does not make any allegations that this benefit was

27   conferred “directly.” Both the Court’s order and Golbeck herself acknowledge that Oracle’s

28   customers collect consumer information and provide it to Oracle. (See Ord. at 18 n.11 (stating
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 1   that Oracle has data “received and/or collected with permission from third [parties]”); see, e.g.,

 2   FAC ¶ 53 (“Oracle has agreements with numerous high-traffic websites like the New York

 3   Times, ESPN, and Amazon to place cookies and/or pixels on their websites.”).) Oracle’s

 4   customers are therefore the necessary intermediaries between Golbeck and Oracle, precluding any

 5   ability for her to “directly” confer a benefit on Oracle as contemplated by Florida law. See

 6   Peoples Nat’l Bank, 667 So. 2d at 879 (dismissing unjust enrichment claim where overpayments

 7   were distributed through an intermediary bank rather than directly by plaintiff). Her claim for

 8   unjust enrichment under Florida law therefore fails.

 9                      7.      Plaintiffs’ declaratory judgment claim fails to the same extent as their
                                underlying claims, and because it is duplicative of the other remedies
10                              they seek (ninth cause of action)
11              Plaintiffs’ claim for declaratory judgment fails for two reasons. First, because it “rise[s]

12   and fall[s] with [their] other claims,” (Ord. at 22), and Plaintiffs have failed to allege facts

13   sufficient to state a claim for their third through eighth causes of action, their associated claim for

14   declaratory judgment must be dismissed to the same extent. Second, Plaintiffs again fail to

15   contend, as they must, that this claim seeks anything beyond what they seek in their underlying

16   claims. Tech & Intell. Prop. Strategies Grp. PC v. Fthenakis, 2011 WL3501690, at *10 (N.D.

17   Cal. Aug. 10, 2011).19

18   IV.        CONCLUSION
19              Oracle respectfully asks the Court to (1) reject Plaintiffs’ extraterritorial application of the

20   second and seventh causes of action to Golbeck and the putative nationwide class and (2) dismiss

21   Plaintiffs’ third through ninth causes of action for failure to state a claim.

22

23   Dated: June 28, 2023                             MORRISON & FOERSTER LLP
24                                                    By:    /s/ Purvi G. Patel
                                                                Purvi G. Patel
25                                                             Attorneys for Defendant
                                                               Oracle America, Inc.
26
           19
27          In its Order, the Court deferred a decision on Plaintiffs’ entitlement to equitable relief to a
     later stage of litigation. (Ord. at 23.) Oracle reserves all rights with respect to its arguments that
28   equitable relief is unavailable where Plaintiffs have an adequate remedy at law. See Sonner v.
     Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020).
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